Case 1:22-cv-10666-TLL-PTM ECF No. 11, PageID.544 Filed 08/05/22 Page 1 of 28




                 IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF MICHIGAN


    COLIN CUSTARD; FREDERICK VOGT;
    and ELLA NORMAN, individually and on        Case No. 1:22-cv-10666-TLL-PTM
    behalf of all others similarly situated,
                                                FIRST AMENDED CLASS
                     Plaintiffs,                ACTION COMPLAINT 1
                                                JURY TRIAL DEMANDED
         v.

    THE WEEK PUBLICATIONS, INC.,


                     Defendant.

        Plaintiffs Colin Custard (“Plaintiff Custard”), Frederick Vogt (“Plaintiff

Vogt”), and Ella Norman (“Plaintiff Norman”) (collectively, “Plaintiffs”),

individually and on behalf of themselves and all others similarly situated, by and

through their attorneys, make the following allegations pursuant to the investigation

of their counsel and based upon information and belief, except as to allegations

specifically pertaining to themselves and their counsel, which are based on personal

knowledge.

                                   INTRODUCTION

        1.     Defendant The Week Publications, Inc. (“TWP”) rented, exchanged,


1
     Plaintiffs file this Second Amended Complaint with the written consent of
Defendant pursuant to Federal Rule of Civil Procedure 15(a)(2), the parties having
submitted a stipulation attesting to the same.
Case 1:22-cv-10666-TLL-PTM ECF No. 11, PageID.545 Filed 08/05/22 Page 2 of 28




and/or otherwise disclosed detailed information about Plaintiffs’ The Week

magazine subscriptions to data aggregators, data appenders, data cooperatives, and

list brokers, among others, which in turn disclosed their information to aggressive

advertisers, political organizations, and non-profit companies. As a result, Plaintiffs

have received a barrage of unwanted junk mail. By renting, exchanging, and/or

otherwise disclosing Plaintiffs’ Private Reading Information (defined below) during

the relevant pre-July 31, 2016 time period,2 TWP violated Michigan’s Preservation

of Personal Privacy Act, H.B. 5331, 84th Leg. Reg. Sess., P.A. No. 378, §§ 1-4

(Mich. 1988), id. § 5, added by H.B. 4694, 85th Leg. Reg. Sess., P.A. No. 206, § 1

(Mich. 1989) (the “PPPA”).3

      2.      Documented evidence confirms these facts. For example, a list broker,

NextMark, Inc. (“NextMark”), offers to provide renters access to the mailing list



2
      The statutory period for this action is six years. See M.C.L. § 600.5813.
3
       In May 2016, the Michigan legislature amended the PPPA. See S.B. 490, 98th
Leg., Reg. Sess., P.A. No. 92 (Mich. 2016) (codified at M.C.L. § 445.1711, et seq.).
The May 2016 amendment to the PPPA, which became effective on July 31, 2016,
does not apply retroactively to claims that accrued prior to its July 31, 2016 effective
date. See Boelter v. Hearst Commc’ns, Inc., 192 F. Supp. 3d 427, 439-41 (S.D.N.Y.
2016) (holding that “the amendment to the [PP]PA does not apply to Plaintiffs’
claims, and the Court will assess the sufficiency of those claims under the law as it
was when Plaintiffs’ claims accrued.”) (citing Landgraf v. USI Film Prods., 511 U.S.
224, 286 (1994)). Because the claims alleged herein accrued, and thus vested, prior
to the July 31, 2016 effective date of the amended version of the PPPA, the pre-
amendment version of the PPPA applies in this case. See Horton v. GameStop,
Corp., 380 F. Supp. 3d 679, 683 (W.D. Mich. 2018).
                                           2
Case 1:22-cv-10666-TLL-PTM ECF No. 11, PageID.546 Filed 08/05/22 Page 3 of 28




titled “THE WEEK MAGAZINE Mailing List”, which contains the Private Reading

Information of 283,854 of TWP’s active U.S. subscribers at a base price of

“$130.00/M [per thousand],” (i.e., 13 cents apiece), as shown in the screenshot

below:




See Exhibit A hereto.

      3.     By renting, exchanging, or otherwise disclosing the Private Reading

Information of its Michigan-based subscribers during the relevant pre-July 31, 2016


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Case 1:22-cv-10666-TLL-PTM ECF No. 11, PageID.547 Filed 08/05/22 Page 4 of 28




time period, TWP violated the PPPA. Subsection 2 of the PPPA provides:

             [A] person, or an employee or agent of the person,
             engaged in the business of selling at retail, renting, or
             lending books or other written materials . . . shall not
             disclose to any person, other than the customer, a record
             or information concerning the purchase . . . of those
             materials by a customer that indicates the identity of the
             customer.

PPPA § 2.

      4.         Accordingly, Plaintiffs bring this First Amended Class Action

Complaint against TWP for its intentional and unlawful disclosure of its customers’

Private Reading Information in violation of the PPPA.

                               NATURE OF THE CASE

      5.         To supplement its revenues, TWP rents, exchanges, or otherwise

discloses its customers’ information—including their full names, titles of

publications subscribed to, and home addresses (collectively “Private Reading

Information”), as well as myriad other categories of individualized data and

demographic information such as age and gender—to data aggregators, data

appenders, data cooperatives, and other third parties without the written consent of

its customers.

      6.         By renting, exchanging, or otherwise disclosing – rather than selling –

its customers’ Private Reading Information, TWP is able to disclose the information

time and time again to countless third parties.


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Case 1:22-cv-10666-TLL-PTM ECF No. 11, PageID.548 Filed 08/05/22 Page 5 of 28




      7.      TWP’s disclosure of Private Reading Information and other

individualized information is not only unlawful, but also dangerous because it allows

for the targeting of particular members of society.

      8.      While TWP profits handsomely from the unauthorized rental,

exchange, and/or disclosure of its customers’ Private Reading Information and other

individualized information, it does so at the expense of its customers’ statutory

privacy rights (afforded by the PPPA) because TWP does not obtain its customers’

written consent prior to disclosing their Private Reading Information.

                                     PARTIES
       9.     Plaintiff Custard is a natural person and citizen of the State of

Michigan and resides in Cheboygan, Michigan. Plaintiff Custard was a subscriber

to The Week magazine, including prior to July 31, 2016. The Week magazine is

published by TWP. While residing in, a citizen of, and present in Michigan, Plaintiff

Custard purchased his subscription to The Week magazine directly from TWP. Prior

to and at the time Plaintiff Custard subscribed to The Week, TWP did not notify

Plaintiff Custard that it discloses the Private Reading Information of its customers,

and Plaintiff Custard has never authorized TWP to do so. Furthermore, Plaintiff

Custard was never provided any written notice that TWP rents, exchanges, or

otherwise discloses its customers’ Private Reading Information, or any means of

opting out. Since subscribing to The Week, and during the relevant pre-July 31, 2016


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Case 1:22-cv-10666-TLL-PTM ECF No. 11, PageID.549 Filed 08/05/22 Page 6 of 28




time period, TWP disclosed, without the requisite consent or prior notice, Plaintiff

Custard’s Private Reading Information to data aggregators, data appenders, and/or

data cooperatives, who then supplement that information with data from their own

files. Moreover, during that same period, TWP rented or exchanged mailing lists

containing Plaintiff Custard’s Private Reading Information to third parties seeking

to contact TWP subscribers, without first obtaining the requisite written consent

from Plaintiff Custard or even giving him prior notice of the rentals, exchanges,

and/or other disclosures.

       10.    Plaintiff Norman is a natural person and citizen of the State of

Michigan and resides in Dearborn, Michigan. Plaintiff Norman was a subscriber to

The Week magazine, including prior to July 31, 2016. The Week magazine is

published by TWP. While residing in, a citizen of, and present in Michigan, Plaintiff

Norman purchased her subscription to The Week magazine directly from TWP. Prior

to and at the time Plaintiff Norman subscribed to The Week, TWP did not notify

Plaintiff Norman that it discloses the Private Reading Information of its customers,

and Plaintiff Norman has never authorized TWP to do so. Furthermore, Plaintiff

Norman was never provided any written notice that TWP rents, exchanges, or

otherwise discloses its customers’ Private Reading Information, or any means of

opting out. Since subscribing to The Week, and during the relevant pre-July 31, 2016

time period, TWP disclosed, without the requisite consent or prior notice, Plaintiff

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Case 1:22-cv-10666-TLL-PTM ECF No. 11, PageID.550 Filed 08/05/22 Page 7 of 28




Norman’s Private Reading Information to data aggregators, data appenders, and/or

data cooperatives, who then supplement that information with data from their own

files. Moreover, during that same period, TWP rented or exchanged mailing lists

containing Plaintiff Norman’s Private Reading Information to third parties seeking

to contact TWP subscribers, without first obtaining the requisite written consent

from Plaintiff Norman or even giving her prior notice of the rentals, exchanges,

and/or other disclosures.

       11.    Plaintiff Vogt is a natural person and citizen of the State of Michigan

and resides in Grand Rapids, Michigan. Plaintiff Vogt was a subscriber to The Week

magazine, including prior to July 31, 2016. The Week magazine is published by

TWP. While residing in, a citizen of, and present in Michigan, Plaintiff Vogt

purchased his subscription to The Week magazine directly from TWP. Prior to and

at the time Plaintiff Vogt subscribed to The Week, TWP did not notify Plaintiff Vogt

that it discloses the Private Reading Information of its customers, and Plaintiff Vogt

has never authorized TWP to do so. Furthermore, Plaintiff Vogt was never provided

any written notice that TWP rents, exchanges, or otherwise discloses its customers’

Private Reading Information, or any means of opting out. Since subscribing to The

Week, and during the relevant pre-July 31, 2016 time period, TWP disclosed, without

the requisite consent or prior notice, Plaintiff Vogt’s Private Reading Information to

data aggregators, data appenders, and/or data cooperatives, who then supplement

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Case 1:22-cv-10666-TLL-PTM ECF No. 11, PageID.551 Filed 08/05/22 Page 8 of 28




that information with data from their own files. Moreover, during that same period,

TWP rented or exchanged mailing lists containing Plaintiff Vogt’s Private Reading

Information to third parties seeking to contact TWP subscribers, without first

obtaining the requisite written consent from Plaintiff Vogt or even giving him prior

notice of the rentals, exchanges, and/or other disclosures.

       12.    Defendant The Week Publications, Inc. is a New York corporation

with its headquarters and principal place of business in New York, New York. TWP

does business throughout Michigan and the entire United States. TWP is the

publisher of The Week magazine.

                         JURISDICTION AND VENUE

      13.     This Court has subject matter jurisdiction over this civil action

pursuant to 28 U.S.C. § 1332(d) because there are more than 100 class members and

the aggregate amount in controversy exceeds $5,000,000, exclusive of interest, fees,

and costs, and at least one Class member is a citizen of a state different from

Defendant.

      14.     The Court has personal jurisdiction over TWP because Plaintiffs’

claims arose in substantial part from actions and omissions in Michigan, including

from Plaintiffs’ purchases of The Week subscriptions in Michigan, TWP’s direction

of such The Week subscriptions into Michigan, and TWP’s failure to obtain

Plaintiffs’ written consent in Michigan prior to disclosing their Private Reading


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Case 1:22-cv-10666-TLL-PTM ECF No. 11, PageID.552 Filed 08/05/22 Page 9 of 28




Information, including their residential addresses in Michigan, to another person, the

effects of which were felt from within Michigan by citizens and residents of

Michigan. Personal jurisdiction also exists over TWP in Michigan because TWP

conducts substantial business within Michigan, such that TWP has significant,

continuous, and pervasive contacts with the State of Michigan.

      15.        Venue is proper in this District pursuant to 28 U.S.C. § 1391 because

TWP does substantial business in this judicial District and a substantial part of the

events giving rise to Plaintiffs’ claims took place within this judicial District.

                             FACTUAL BACKGROUND
                   Michigan’s Preservation of Personal Privacy Act

      16.        In 1988, members of the United States Senate warned that records of

consumers’ purchases and rentals of audiovisual and publication materials offer “a

window into our loves, likes, and dislikes,” and that “the trail of information

generated by every transaction that is now recorded and stored in sophisticated

record-keeping systems is a new, more subtle and pervasive form of surveillance.”

S. Rep. No. 100-599 at 7–8 (1988) (statements of Sens. Simon and Leahy,

respectively).

      17.        Recognizing the need to further protect its citizens’ privacy rights,

Michigan’s legislature enacted the PPPA to protect “privacy with respect to the

purchase, rental, or borrowing of certain materials,” by prohibiting companies from


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Case 1:22-cv-10666-TLL-PTM ECF No. 11, PageID.553 Filed 08/05/22 Page 10 of 28




disclosing certain types of sensitive consumer information. H.B. No. 5331, 1988

Mich. Legis. Serv. 378 (West).

      18.     Subsection 2 of the PPPA states:

            [A] person, or an employee or agent of the person,
            engaged in the business of selling at retail, renting, or
            lending books or other written materials . . . shall not
            disclose to any person, other than the customer, a record
            or information concerning the purchase . . . of those
            materials by a customer that indicates the identity of the
            customer.

PPPA § 2 (emphasis added).

      19.     Michigan’s protection of reading information reflects the “gut feeling

that people ought to be able to read books and watch films without the whole world

knowing,” and recognizes that “[b]ooks and films are the intellectual vitamins that

fuel the growth of individual thought. The whole process of intellectual growth is

one of privacy—of quiet, and reflection. This intimate process should be protected

from the disruptive intrusion of a roving eye.” S. Rep. No. 100–599, at 6 (Statement

of Rep. McCandless).

      20.     As Senator Patrick Leahy recognized in proposing the Video and

Library Privacy Protection Act (later codified as the Video Privacy Protection Act,

18 U.S.C. § 2710), “[i]n practical terms our right to privacy protects the choice of

movies that we watch with our family in our own homes. And it protects the

selection of books that we choose to read.” 134 Cong. Rec. S5399 (May 10, 1988).

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Case 1:22-cv-10666-TLL-PTM ECF No. 11, PageID.554 Filed 08/05/22 Page 11 of 28




      21.     Senator Leahy also explained why choices in movies and reading

materials are so private: “These activities . . . reveal our likes and dislikes, our

interests and our whims. They say a great deal about our dreams and ambitions, our

fears and our hopes. They reflect our individuality, and they describe us as people.”

Id.

      22.     Michigan’s passage of the PPPA also established as a matter of law

“that a person’s choice in reading, music, and video entertainment is a private matter,

and not a fit subject for consideration by gossipy publications, employers, clubs, or

anyone else for that matter.”      Privacy: Sales, Rentals of Videos, etc., House

Legislative Analysis Section, H.B. No. 5331, Jan. 20, 1989 (attached hereto as

Exhibit B).

      23.     Despite the fact that thousands of Michigan residents subscribe to

TWP’s publications, TWP disregarded its legal responsibility by systematically

violating the PPPA.

                       The Private Information Market:
                 Consumers’ Private Information Has Real Value

      24.     In 2001, Federal Trade Commission (“FTC”) Commissioner Orson

Swindle remarked that “the digital revolution . . . has given an enormous capacity

to the acts of collecting and transmitting and flowing of information, unlike anything

we’ve ever seen in our lifetimes . . . [and] individuals are concerned about being


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Case 1:22-cv-10666-TLL-PTM ECF No. 11, PageID.555 Filed 08/05/22 Page 12 of 28




defined by the existing data on themselves.” 4

      25.     More than a decade later, Commissioner Swindle’s comments ring

truer than ever, as consumer data feeds an information marketplace that supports a

$26 billion dollar per year online advertising industry in the United States.5

      26.     The FTC has also recognized that consumer data possesses inherent

monetary value within the new information marketplace and publicly stated that:

             Most consumers cannot begin to comprehend the types
             and amount of information collected by businesses, or why
             their information may be commercially valuable. Data is
             currency. The larger the data set, the greater potential for
             analysis—and profit. 6

      27.     In fact, an entire industry exists while companies known as data

aggregators purchase, trade, and collect massive databases of information about

consumers. Data aggregators then profit by selling this “extraordinarily intrusive”


4
       Exhibit C, The Information Marketplace: Merging and Exchanging
Consumer Data (Mar. 13, 2001), at 8:15-11:16, available at
https://www.ftc.gov/sites/default/files/documents/public_events/information-
marketplace-merging-and-exchanging-consumer-data/transcript.pdf (last visited
July 30, 2021).
5
        See Exhibit D, Web’s Hot New Commodity: Privacy, WSJ (Feb. 28, 2011),
http://online.wsj.com/article/SB10001424052748703529004576160764037920274
.html (last visited July 30, 2021).
6
        Exhibit E, Statement of FTC Commissioner Pamela Jones Harbour (Dec.
7, 2009), at 2, available at
https://www.ftc.gov/sites/default/files/documents/public_statements/remarks-ftc-
exploring-privacy-roundtable/091207privacyroundtable.pdf (last visited July 30,
2021).
                                         12
Case 1:22-cv-10666-TLL-PTM ECF No. 11, PageID.556 Filed 08/05/22 Page 13 of 28




information in an open and largely unregulated market. 7

      28.     The scope of data aggregators’ knowledge about consumers is

immense: “If you are an American adult, the odds are that [they] know[] things like

your age, race, sex, weight, height, marital status, education level, politics, buying

habits, household health worries, vacation dreams—and on and on.”8

      29.     Further, “[a]s use of the Internet has grown, the data broker industry

has already evolved to take advantage of the increasingly specific pieces of

information about consumers that are now available.”9

      30.     Recognizing the serious threat the data mining industry poses to

consumers’ privacy, on July 25, 2012, the co-Chairmen of the Congressional Bi-

Partisan Privacy Caucus sent a letter to nine major data brokerage companies

seeking information on how those companies collect, store, and sell their massive



7
     See Exhibit F, Martha C. White, Big Data Knows What You’re Doing Right
Now, TIME.com (July 31, 2012), http://moneyland.time.com/2012/07/31/big-data-
knows-what-youre-doing-right-now/ (last visited July 30, 2021).
8
       Exhibit G, Natasha Singer, You for Sale: Mapping, and Sharing, the
Consumer Genome, N.Y. Times (June 16, 2012), available at
https://www.immagic.com/eLibrary/ARCHIVES/GENERAL/GENPRESS/N12061
6S.pdf (last visited July 30, 2021).
9
       Exhibit H, Letter from Senator John D. Rockefeller IV, Chairman, Senate
Committee on Commerce, Science, and Transportation, to Scott E. Howe, Chief
Executive     Officer,     Acxiom     (Oct.     9,   2012)     available    at
http://www.commerce.senate.gov/public/?a=Files.Serve&File_id=3bb94703-5ac8-
4157-a97b-a658c3c3061c (last visited July 30, 2021).

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Case 1:22-cv-10666-TLL-PTM ECF No. 11, PageID.557 Filed 08/05/22 Page 14 of 28




collections of consumer data.10

      31.      In their letter, the co-Chairmen recognized that “[b]y combining data

from numerous offline and online sources, data brokers have developed hidden

dossiers on every U.S. consumer,” which “raises a number of serious privacy

concerns.”11

      32.      Data aggregation is especially troublesome when consumer

information is sold to direct-mail advertisers. In addition to causing waste and

inconvenience, direct-mail advertisers often use consumer information to lure

unsuspecting consumers into various scams, 12 including fraudulent sweepstakes,

charities, and buying clubs. Thus, when companies like TWP share information

with data aggregators, data cooperatives, and direct-mail advertisers, they contribute

to the “[v]ast databases” of consumer data that are often “sold to thieves by large

publicly traded companies,” which “put[s] almost anyone within the reach of




10
        See Exhibit I, Bipartisan Group of Lawmakers Query Data Brokers About
Practices Involving Consumers’ Personal Information, Website of Senator Ed
Markey      (July     24,     2012),   http://www.markey.senate.gov/news/press-
releases/bipartisan-group-of-lawmakers-query-data-brokers-about-practices-
involving-consumers-personal-information (last visited July 30, 2021).
11
       Id.
12
      See Exhibit J, Prize Scams, Federal Trade Commission,
http://www.consumer.ftc.gov/articles/0199-prize-scams (last visited July 30, 2021).

                                         14
Case 1:22-cv-10666-TLL-PTM ECF No. 11, PageID.558 Filed 08/05/22 Page 15 of 28




fraudulent telemarketers” and other criminals.13

      33.     Information disclosures like those made by TWP are particularly

dangerous to the elderly. “Older Americans are perfect telemarketing customers,

analysts say, because they are often at home, rely on delivery services, and are lonely

for the companionship that telephone callers provide.” 14 The FTC notes that “[t]he

elderly often are the deliberate targets of fraudulent telemarketers who take

advantage of the fact that many older people have cash reserves or other assets to

spend on seemingly attractive offers.”15 Indeed, an entire black market exists where

the private information of vulnerable elderly Americans is exchanged.

      34.     Thus,    information    disclosures   like   TWP’s     are   particularly

troublesome because of their cascading nature: “Once marked as receptive to [a

specific] type of spam, a consumer is often bombarded with similar fraudulent offers




13
       Exhibit K, Charles Duhigg, Bilking the Elderly, With a Corporate Assist,
N.Y.        Times,        May        20,        2007,        available      at
http://www.nytimes.com/2007/05/20/business/20tele.html (last visited July 30,
2021).
14
      Id.
15
       Exhibit L, Fraud Against Seniors: Hearing before the Senate Special
Committee on Aging (August 10, 2000) (prepared statement of the FTC), available
at https://www.ftc.gov/sites/default/files/documents/public_statements/prepared-
statement-federal-trade-commission-fraud-against-seniors/agingtestimony.pdf (last
visited July 30, 2021).

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Case 1:22-cv-10666-TLL-PTM ECF No. 11, PageID.559 Filed 08/05/22 Page 16 of 28




from a host of scam artists.”16

      35.       TWP is not alone in jeopardizing its subscribers’ privacy and well-

being in exchange for increased revenue: disclosing subscriber information to data

aggregators, data appenders, data cooperatives, direct marketers, and other third

parties is a widespread practice in the publishing industry.

      36.       Thus, as consumer data has become an ever-more valuable

commodity, the data mining industry has experienced rapid and massive growth.

Unfortunately for consumers, this growth has come at the expense of their most

basic privacy rights.

                Consumers Place Monetary Value on their Privacy and
                 Consider Privacy Practices When Making Purchases

      37.       As the data aggregation and cooperative industry has grown, so too

have consumer concerns regarding the privacy of their information.

      38.       A recent survey conducted by Harris Interactive on behalf of

TRUSTe, Inc. showed that 89 percent of consumers polled avoid doing business

with companies who they believe do not protect their privacy online. 17 As a result,



16
      See id.
17
      See Exhibit M, 2014 TRUSTe US Consumer Confidence Privacy Report,
TRUSTe, http://www.theagitator.net/wp-
content/uploads/012714_ConsumerConfidenceReport_US1.pdf (last visited July
30, 2021).

                                         16
Case 1:22-cv-10666-TLL-PTM ECF No. 11, PageID.560 Filed 08/05/22 Page 17 of 28




81 percent of smartphone users polled said that they avoid using smartphone apps

that they don’t believe protect their privacy online. 18

       39.     Thus, as consumer privacy concerns grow, consumers are increasingly

incorporating privacy concerns and values into their purchasing decisions and

companies viewed as having weaker privacy protections are forced to offer greater

value elsewhere (through better quality and/or lower prices) than their privacy-

protective competitors.

       40.     In fact, consumers’ private information has become such a valuable

commodity that companies are beginning to offer individuals the opportunity to sell

their information themselves.19

       41.     These companies’ business models capitalize on a fundamental tenet

underlying the consumer information marketplace:           consumers recognize the

economic value of their private data. Research shows that consumers are willing to

pay a premium to purchase services from companies that adhere to more stringent

policies of protecting their data. 20


18
       Id.
19
       See Exhibit N, Joshua Brustein, Start-Ups Seek to Help Users Put a Price on
Their Personal Data, N.Y. Times (Feb. 12, 2012), available at
http://www.nytimes.com/2012/02/13/technology/start-ups-aim-to-help-users-put-a-
price-on-their-personal-data.html (last visited July 30, 2021).
20
      See Exhibit O, Tsai, Cranor, Acquisti, and Egelman, The Effect of Online
Privacy Information on Purchasing Behavior, 22(2) Information Systems Research
                                           17
Case 1:22-cv-10666-TLL-PTM ECF No. 11, PageID.561 Filed 08/05/22 Page 18 of 28




       42.    Thus, in today’s economy, individuals and businesses alike place a

real, quantifiable value on consumer data and corresponding privacy rights. 21

     TWP Unlawfully Rents, Exchanges, And Discloses Its Customers’ Private
                            Reading Information
       43.    TWP maintains a vast digital database comprised of its customers’

Private Reading Information.     TWP discloses its customers’ Private Reading

Information to data aggregators and appenders, who then supplement that

information with additional sensitive private information about each TWP customer,

including his or her age and gender. (See, e.g., Exhibit A).

       44.    TWP then rents and/or exchanges its mailing lists—which include

subscribers’ Private Reading Information identifying which individuals purchased

subscriptions to particular magazines, and can include the sensitive information

obtained from data aggregators and appenders—to other data aggregators and

appenders, other consumer-facing businesses, non-profit organizations seeking to

raise awareness and solicit donations, and to political organizations soliciting


254, 254 (2011) discussed in European Network and Information Security Agency,
Study      on    monetising    privacy     (Feb.     27,     2012),    available at
https://www.enisa.europa.eu/activities/identity-and-
trust/library/deliverables/monetising-privacy (last visited July 30, 2021).
21
       See Exhibit P, Hann, et al., The Value of Online Information Privacy: An
Empirical       Investigation     (Oct.     2003)       at     2,    available    at
http://citeseerx.ist.psu.edu/viewdoc/download?doi=10.1.1.321.6125&rep=rep1&ty
pe=pdf (last visited July 30, 2021) (“The real policy issue is not whether consumers
value online privacy. It is obvious that people value online privacy.”).
                                        18
Case 1:22-cv-10666-TLL-PTM ECF No. 11, PageID.562 Filed 08/05/22 Page 19 of 28




donations, votes, and volunteer efforts. (See Exhibit A).

        45.   TWP also discloses its customers’ Private Reading Information to data

cooperatives, who in turn give TWP access to their own mailing list databases.

        46.   As a result of TWP’s data compiling and sharing practices, companies

can purchase and/or obtain mailing lists from TWP that identify TWP’s customers

by their most intimate details such as their age and gender. TWP’s disclosures of

such sensitive and private information puts consumers, especially the more

vulnerable members of society, at risk of serious harm from scammers.

        47.   TWP does not seek its customers’ prior consent, written or otherwise,

to any of these disclosures and its customers remain unaware that their Private

Reading Information and other sensitive information is being rented and exchanged

on the open market.

        48.   Consumers can sign up for subscriptions to TWP’s publications

through numerous media outlets, including the Internet, telephone, or traditional

mail.    Regardless of how the consumer subscribes, TWP never required the

individual to read or affirmatively agree to any terms of service, privacy policy, or

information-sharing policy during the relevant pre-July 31, 2016 time period.

Consequently, during the relevant pre-July 31, 2016 time period, TWP uniformly

failed to obtain any form of consent from – or even provide effective notice to – its

customers before disclosing their Private Reading Information.

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Case 1:22-cv-10666-TLL-PTM ECF No. 11, PageID.563 Filed 08/05/22 Page 20 of 28




      49.     As a result, TWP disclosed its customers’ Private Reading

Information – including their reading habits and preferences that can “reveal

intimate facts about our lives, from our political and religious beliefs to our health

concerns” 22 – to anybody willing to pay for it.

      50.     By and through these actions, TWP has intentionally disclosed to third

parties its Michigan customers’ Private Reading Information without consent, in

direct violation of the PPPA.

                       CLASS ACTION ALLEGATIONS

      51.    Plaintiffs seek to represent a class defined as all Michigan residents

who, at any point during the relevant pre-July 31, 2016 time period, had their Private

Reading Information disclosed to third parties by TWP without consent (the

“Class”). Excluded from the Class is any entity in which Defendant has a controlling

interest, and officers or directors of Defendant.

      52.    Members of the Class are so numerous that their individual joinder

herein is impracticable. On information and belief, members of the Class number in

the thousands. The precise number of Class members and their identities are

unknown to Plaintiffs at this time but may be determined through discovery. Class

members may be notified of the pendency of this action by mail and/or publication


22
       Exhibit Q, California’s Reader Privacy Act Signed into Law, Electronic
Frontier Foundation (Oct. 3, 2011), https://www.eff.org/press/archives/2011/10/03
(last visited July 30, 2021).
                                          20
Case 1:22-cv-10666-TLL-PTM ECF No. 11, PageID.564 Filed 08/05/22 Page 21 of 28




through the distribution records of Defendant.

      53.    Common questions of law and fact exist as to all Class members and

predominate over questions affecting only individual Class members. Common

legal and factual questions include, but are not limited to: (a) whether TWP is a

“retailer or distributor” of publications (i.e., magazines); (b) whether TWP obtained

consent before disclosing to third parties Plaintiffs’ and the Class’s Private Reading

Information; and (c) whether TWP’s disclosure of Plaintiffs’ and the Class’s Private

Reading Information violated the PPPA.

      54.    The claims of the named Plaintiffs are typical of the claims of the Class

in that the named Plaintiffs and the Class suffered invasions of their statutorily

protected right to privacy (as afforded by the PPPA) as a result of Defendant’s

uniform wrongful conduct, based upon Defendant’s disclosure of Plaintiffs’ and the

Class’s Private Reading Information.

      55.    Plaintiffs are adequate representatives of the Class because their

interests do not conflict with the interests of the Class members they seek to

represent, they have retained competent counsel experienced in prosecuting class

actions, and they intend to prosecute this action vigorously. The interests of Class

members will be fairly and adequately protected by Plaintiffs and their counsel.

      56.    The class mechanism is superior to other available means for the fair

and efficient adjudication of the claims of Class members. Each individual Class

                                         21
Case 1:22-cv-10666-TLL-PTM ECF No. 11, PageID.565 Filed 08/05/22 Page 22 of 28




member may lack the resources to undergo the burden and expense of individual

prosecution of the complex and extensive litigation necessary to establish

Defendant’s liability. Individualized litigation increases the delay and expense to

all parties and multiplies the burden on the judicial system presented by the complex

legal and factual issues of this case. Individualized litigation also presents a potential

for inconsistent or contradictory judgments. In contrast, the class action device

presents far fewer management difficulties and provides the benefits of single

adjudication, economy of scale, and comprehensive supervision by a single court on

the issue of Defendant’s liability. Class treatment of the liability issues will ensure

that all claims and claimants are before this Court for consistent adjudication of the

liability issues.

                             CAUSE OF ACTION
          Violation of Michigan’s Preservation of Personal Privacy Act
                                   (PPPA § 2)

       57.    Plaintiffs repeat the allegations contained in the foregoing paragraphs

as if fully set forth herein.

       58.    Plaintiffs bring this claim individually and on behalf of members of the

Class against Defendant TWP.

       59.    As a magazine publisher that sells subscriptions to consumers, TWP is

engaged in the business of selling written materials at retail. See PPPA § 2.

       60.    By purchasing subscriptions to The Week magazine, Plaintiffs


                                           22
Case 1:22-cv-10666-TLL-PTM ECF No. 11, PageID.566 Filed 08/05/22 Page 23 of 28




purchased written materials directly from TWP. See PPPA § 2.

      61.    Because Plaintiffs purchased written materials directly from TWP, they

are each a “customer” within the meaning of the PPPA. See PPPA § 1.

      62.    At various times during the pre-July 31, 2016 time period, TWP

disclosed Plaintiffs’ Private Reading Information, which identified each of them as

a The Week customer, in at least three ways.

      63.    First, TWP disclosed mailing lists containing Plaintiffs’ Private

Reading Information to data aggregators and data appenders, who then

supplemented the mailing lists with additional sensitive information from their own

databases, before sending the mailing lists back to TWP.

      64.    Second, TWP disclosed mailing lists containing Plaintiffs’ Private

Reading Information to data cooperatives, who in turn gave TWP access to their own

mailing list databases.

      65.    Third, TWP rented and/or exchanged its mailing lists containing

Plaintiffs’ Private Reading Information—enhanced with additional information

from data aggregators and appenders—to third parties, including other consumer-

facing companies, direct-mail advertisers, and organizations soliciting monetary

contributions, volunteer work, and votes.

      66.    Because the mailing lists included the additional information from the

data aggregators and appenders, the lists were more valuable, and TWP was able to

                                        23
Case 1:22-cv-10666-TLL-PTM ECF No. 11, PageID.567 Filed 08/05/22 Page 24 of 28




increase its profits gained from the mailing list rentals and/or exchanges.

       67.   By renting, exchanging, or otherwise disclosing its customer lists,

during the relevant pre-July 31, 2016 time period, TWP disclosed to persons other

than Plaintiffs records or information concerning their purchases of written materials

from TWP. See PPPA § 2.

       68.   The information TWP disclosed indicates Plaintiffs’ names and

addresses, as well as the fact that they subscribed to The Week. Accordingly, the

records or information disclosed by TWP indicated Plaintiffs’ identities. See PPPA

§ 2.

       69.   Plaintiffs and the members of the Class never consented to TWP

disclosing their Private Reading Information to anyone.

       70.   Worse yet, Plaintiffs and the members of the Class did not receive

notice before TWP disclosed their Private Reading Information to third parties.

       71.   TWP’s disclosures of Plaintiffs’ and the Class’s Private Reading

Information during the relevant pre-July 31, 2016 time period were not made

pursuant to a court order, search warrant, or grand jury subpoena.

       72.   TWP’s disclosures of Plaintiffs’ and the Class’s Private Reading

Information during the relevant pre-July 31, 2016 time period were not made to

collect payment for their subscriptions.

       73.   TWP’s disclosures of Plaintiffs’ Private Reading Information during

                                           24
Case 1:22-cv-10666-TLL-PTM ECF No. 11, PageID.568 Filed 08/05/22 Page 25 of 28




the relevant pre-July 31, 2016 time period were made to data aggregators, data

appenders, data cooperatives, direct-mail advertisers, and organizations soliciting

monetary contributions, volunteer work, and votes—all in order to increase TWP’s

revenue. Accordingly, TWP’s disclosures were not made for the exclusive purpose

of marketing goods and services directly to Plaintiffs and the members of the Class.

      74.    By disclosing Plaintiffs’ and the Class’s Private Reading Information

during the relevant pre-July 31, 2016 time period, TWP violated Plaintiffs’ and the

Class’s statutorily protected right to privacy in their reading habits. See PPPA § 2.

      75.    As a result of TWP’s unlawful disclosure of their Private Reading

Information, Plaintiffs and the members of the Class have suffered invasions of their

statutorily protected right to privacy (afforded by the PPPA).         On behalf of

themselves and the Class, Plaintiffs seek: (1) $5,000.00 to each of the Plaintiffs and

each Class member pursuant to PPPA § 5(a); and (2) costs and reasonable attorneys’

fees pursuant to PPPA § 5(b).

                             PRAYER FOR RELIEF

      WHEREFORE, Plaintiffs, individually and on behalf of all others similarly

situated, seek a judgment against Defendant as follows:

              A.    For an order certifying the Class under Rule 23 of the
                    Federal Rules of Civil Procedure and naming Plaintiffs as
                    representatives of the Class and Plaintiffs’ attorneys as
                    Class Counsel to represent the Class;

              B.    For an order declaring that Defendant’s conduct as
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Case 1:22-cv-10666-TLL-PTM ECF No. 11, PageID.569 Filed 08/05/22 Page 26 of 28




                    described herein violated the Preservation of Personal
                    Privacy Act;

             C.     For an order finding in favor of Plaintiffs and the Class on
                    all counts asserted herein;

             D.     For an award of $5,000 to each of the Plaintiffs and each
                    Class member, as provided by the Preservation of Personal
                    Privacy Act, PPPA § 5(a);

             E.     For prejudgment interest on all amounts awarded; and

             F.     For an order awarding Plaintiffs and the Class their
                    reasonable attorneys’ fees and expenses and costs of suit.

                                 JURY DEMAND
      Plaintiffs demand a trial by jury on all causes of action and issues so triable.

Dated: August 5, 2022                  Respectfully submitted,

                                       COLIN CUSTARD, FREDERICK
                                       VOGT & ELLA NORMAN

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                                         26
Case 1:22-cv-10666-TLL-PTM ECF No. 11, PageID.570 Filed 08/05/22 Page 27 of 28




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                                     27
Case 1:22-cv-10666-TLL-PTM ECF No. 11, PageID.571 Filed 08/05/22 Page 28 of 28




                         CERTIFICATE OF SERVICE

      I, E. Powell Miller, an attorney, hereby certify that on August 5, 2022, I served

the above and foregoing on all counsel of record by submitting it electronically via

Utilities with the Clerk of the Court using the CM/ECF filing system and then

emailing a copy to counsel for Defendant.


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